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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


  ROSY GIRON DE REYES, et al.,

                   Plaintiffs,
  v.
                                                Civil No.: 1:16cv563-TSE-TCB
  WAPLES MOBILE HOME PARK
  LIMITED PARTNERSHIP, et al.,

                   Defendants.




       DEFENDANTS’ MOTION TO STRIKE THE OPINIONS AND TESTIMONY OF
                     PROFESSOR WILLIAM A.V. CLARK

        Defendants Waples Mobile Home Park Limited Partnership, Waples Project Limited

 Partnership, and A. J. Dwoskin & Associates, Inc. (collectively “Defendants”), by counsel,

 respectfully submit their Motion to Strike the Opinions and Testimony of Professor William A.V.

 Clark. The grounds for this requested relief are set forth in a contemporaneously filed

 Memorandum in Support.
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                             Respectfully submitted,


                             WAPLES MOBILE HOME PARK LIMITED
                             PARTNERSHIP, WAPLES PROJECT LIMITED
                             PARTNERSHIP AND
                             A. J. DWOSKIN & ASSOCIATES, INC.

                             /s/
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                             Michael S. Dingman (VSB No. 30031)
                             Justin deBettencourt (VSB No. 83806)
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd day of September, 2020, I caused the foregoing to be filed

 electronically with the Clerk of the Court using CM/ECF, which will then send a notification of

 such filing to all counsel of record.



                                         /s/
                                         Grayson P. Hanes (VSB No. 06614)
                                         Michael S. Dingman (VSB No. 30031)
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